Case 3:12-cr-01073-WQH        Document 125       Filed 02/12/13    PageID.729      Page 1 of 15



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   7                          UNITED STATES DISTRICT COURT
   8                       SOUTHERN DISTRICT OF CALIFORNIA
   9
  10    UNITED STATES OF AMERICA ,                            CASE NO. 12CR1073 WQH
  11                                       Plaintiff,         ORDER
            vs.
  12    STEVE RUBY (1),
  13                                    Defendant.
  14
  15   HAYES, Judge:
  16          The matters before the Court are the motions (ECF Nos. 71-1 through 71-10) filed by
  17   the Defendant Steve Ruby.
  18                                        BACKGROUND
  19          The investigation in this case involved a series of bank robberies which took place from
  20   January 17, 2012 through February 28, 2012. During the investigation, police officers put out
  21   a “be on the look out” (BOLO) bulletin to county law enforcement to look for a
  22   maroon/burgundy Chevrolet Silverado. On March 1, 2012, a San Diego Sheriff’s Department
  23   Detective conducting an unrelated investigation observed a truck matching the BOLO
  24   description. Further investigation produced a licence plate number for the truck which was
  25   registered to Spiros Romensas and information that Spiros Romensas and Steve Ruby had
  26   storage lockers at the A-American Storage facility in El Cajon.
  27          On March 8, 2012, at approximately 1:30 p.m., Defendant Steve Ruby and Defendant
  28   Spiros Romensas were arrested.


                                                        -1-                                12cr1073 WQH
Case 3:12-cr-01073-WQH         Document 125     Filed 02/12/13    PageID.730     Page 2 of 15



   1         On March 8, 2012, at 1:30 p.m., the Government sought and received a warrant
   2   authorizing the search of Defendant Ruby’s hotel room and storage unit.
   3         On March 21, 2012, the grand jury returned an indictment charging Defendant Steve
   4   Ruby with six counts of bank robbery and one count of attempted bank robbery in violation
   5   of 18 U.S.C. § 2113(a).
   6         On March 29, 2012, the Government sought and received an order directing Defendant
   7   Ruby’s cell phone service provider “to disclose the records of cell site and cell storage
   8   activations by the subject telephones during the period January 1, 2012 to March 31, 2012.”
   9   (ECF No. 71-2 at 17).
  10         Agents of the Federal Bureau of Investigations (FBI) showed a photographic lineup
  11   which included a photo of Defendant Ruby to a bank teller witness on each of the following
  12   dates: April 17, 2012; July 27, 2012; July 31, 2012; August 1, 2012; and August 24, 2012.
  13   Each of the five bank tellers identified Defendant Ruby as the robber.
  14         On May 16, 2012, the grand jury returned a superseding indictment charging the
  15   following counts:
  16         Count 1: On or about January 17, 2012, within the Southern District of
             California, defendant STEVE RUBY, by force, violence, and by intimidation,
  17         did unlawfully take from the person and presence of employees of Pacific
             Western Bank, located at 9955 Mission Gorge Road, Santee, California, the sum
  18         of approximately $516.00, belonging to and in the care, custody, control,
             management, and possession of Pacific Western Bank, the deposits of which
  19         were then insured by the Federal Deposit Insurance Corporation (FDIC); in
             violation of Title 18, United States Code, Section 2113(a).
  20
             Count 2: On or about January 23, 2012, within the Southern District of
  21         California, defendant STEVE RUBY, by force, violence, and by intimidation,
             did unlawfully take from the person and presence of employees of Pacific
  22         Western Bank, located at 9955 Mission Gorge Road, Santee, California, the sum
             of approximately $2,587.00, belonging to and in the care, custody, control,
  23         management, and possession of Pacific Western Bank, the deposits of which
             were then insured by the Federal Deposit Insurance Corporation (FDIC); in
  24         violation of Title 18, United States Code, Section 2113(a).
  25         Count 3: On or about February 6, 2012, within the Southern District of
             California, defendant STEVE RUBY, by force, violence, and by intimidation,
  26         did unlawfully take from the person and presence of employees of Home Bank
             of California, located at 875 Garnet Avenue, San Diego, California, the sum of
  27         approximately $607.00, belonging to and in the care, custody, control,
             management, and possession of Home Bank of California, the deposits of which
  28         were then insured by the Federal Deposit Insurance Corporation (FDIC); in
             violation of Title 18, United States Code, Section 2113(a).

                                                   -2-                                  12cr1073 WQH
Case 3:12-cr-01073-WQH       Document 125      Filed 02/12/13    PageID.731     Page 3 of 15



   1         Count 4: On or about February 10, 2012, within the Southern District of
             California, defendant STEVE RUBY, by force, violence, and by intimidation,
   2         did unlawfully take from the person and presence of employees of Pacific
             Western Bank, located at 9643 Mission Gorge Road, Santee, California, the sum
   3         of approximately $ 1,211.00, belonging to and in the care, custody, control,
             management, and possession of Pacific Western Bank, the deposits of which
   4         were then insured by the Federal Deposit Insurance Corporation (FDIC); in
             violation of Title 18, United States Code, Section 2113(a).
   5
             Count 5: On or about February 14, 2012, within the Southern District of
   6         California, defendant STEVE RUBY, by force, violence, and by intimidation,
             did unlawfully attempt to take from the person and presence of employees of
   7         Pacific Western Bank, located at 9955 Mission Gorge Road, Santee, California,
             money belonging to and in the care, custody, control, management, and
   8         possession of Pacific Western Bank, the deposits of which were then insured by
             the Federal Deposit Insurance Corporation (FDIC); in violation of Title 18,
   9         United States Code, Section 2113(a).
  10         Count 6: On or about February 21, 2012, within the Southern District of
             California, defendants STEVE RUBY and SPIROS ROMENSAS, by force,
  11         violence, and by intimidation, did unlawfully take from the person and presence
             of employees of Pacific Western Bank, located at 368 Broadway, El Cajon,
  12         California, the sum of approximately $1,432.00, belonging to and in the care,
             custody, control, management, and possession of Pacific Western Bank, the
  13         deposits of which were then insured by the Federal Deposit Insurance
             Corporation (FDIC); in violation of Title 18, United States Code, Section
  14         2113(a) and Title 18, United States Code, Section 2.
  15         Count 7: On or about February 28, 2012, within the Southern District of
             California, defendants STEVE RUBY and SPIROS ROMENSAS, by force,
  16         violence, and by intimidation, did unlawfully take from the person and presence
             of employees of Wells Fargo Bank, located at 6670 Montezuma Road, San
  17         Diego, California, the sum of approximately $9,903.00, belonging to and in the
             care, custody, control, management, and possession of Wells Fargo Bank, the
  18         deposits of which were then insured by the Federal Deposit Insurance
             Corporation (FDIC); in violation of Title 18, United States Code, Section
  19         2113(a) and Title 18, United States Code, Section 2.
  20   (ECF No. 26).
  21         On July 3, 2012, the government sought and received a search warrant to search
  22   Defendant Ruby’s cell phone which had been seized at the time of his arrest.
  23                                 RULINGS OF THE COURT
  24   Motion #1 to dismiss for lack of jurisdiction
  25         Defendant Ruby moves to dismiss the superseding indictment on the grounds that the
  26   Congress exceeded its Commerce Clause authority in promulgating the federal bank robbery
  27   statute, 18 U.S.C. Section 2113(a).
  28         In United States v. Harris, 108 F.3d 1107, 1108 (9th Cir. 1997), the Court of Appeals


                                                  -3-                                    12cr1073 WQH
Case 3:12-cr-01073-WQH        Document 125       Filed 02/12/13     PageID.732       Page 4 of 15



   1   for the Ninth Circuit stated: “[f]ederal courts have jurisdiction over a bank robbery offense
   2   where the bank was a federally insured institution.” The Court of Appeals explained “[t]hese
   3   federal institutions are instrumentalities and channels of interstate commerce and their
   4   regulation is well within Congress’s Commerce Clause power.” Id. at 1109.
   5          Defendant’s motion #1 to dismiss the indictment for lack of jurisdiction is denied.
   6   Motion #2 to dismiss for failure to state an offense
   7          Defendant contends that Count 5 of the indictment in this case fails to allege that he did
   8   something that was a substantial step toward robbing the bank. The Government contends that
   9   the allegations of time and place in the superseding indictment satisfy the notice requirements
  10   of an indictment.
  11          Count 5 alleges that Defendant Ruby attempted to rob the Pacific Western Bank at 9955
  12   Mission Gorge Road in Santee, California on February 14, 2012. The Court concludes that the
  13   indictment allegation of an attempt carries with it an implied allegation of an overt act in
  14   furtherance of the offense charged and satisfies the requirement of Federal Rule of Criminal
  15   Procedure 7(c)(1). See United States v. Resendiz-Ponce, 549 U.S. 102, 108 (2007).
  16          Defendant’s motion #2 to dismiss Count 5 is denied.
  17   Motion #3 to sever trials of the seven counts
  18          Defendant contends that the six counts of bank robbery and one count of attempted bank
  19   robbery in this case are not properly joined under Rule 8 of the Federal Rules of Criminal
  20   Procedure. The Government contends that the similarities of the crimes charged in the
  21   indictment satisfy the requirements for joinder.
  22          Under Rule 8(a), joinder of offenses is permitted if the offenses “are of the same or
  23   similar character, or are based upon the same act or transaction, or are connected with or
  24   constitute parts of a common scheme or plan.” Fed. R. Crim P. 8(a). In this case, the temporal
  25   proximity of the acts, the physical location of the acts, and the identity of the victims
  26   adequately set forth acts of the same or similar character properly joined under Rule 8(a).
  27          Defendant’s motion #3 to sever trials of the seven counts is denied.
  28   Motion #4 to suppress 2703(D) evidence obtained pursuant to court order


                                                     -4-                                     12cr1073 WQH
Case 3:12-cr-01073-WQH        Document 125      Filed 02/12/13     PageID.733     Page 5 of 15



   1          On March 29, 2012, the United States of America applied to the district court for an
   2   order directing Leap Wireless, an electronic communication service provider, to provide to the
   3   Federal Bureau of Investigations subscriber and other historical information regarding three
   4   identified telephone numbers. The Application stated: “These cellular telephone numbers are
   5   believed to have been used by Steve RUBY, Spiros ROMENSAS, and Sharon STRAKA,
   6   respectively, within the Southern District of California.” (ECF No. 71-2 at 9). The
   7   information in support of the application by the Assistant United States Attorney stated that
   8   the “FBI is conducting a criminal investigation into the users and/or subscribers of cellular
   9   telephone numbers ... which may constitute violations of Title 18, United States Code, Section
  10   2113(a)- Bank Robbery.” Id. at 10. The Assistant United States Attorney set forth specific
  11   information regarding six bank robberies and one attempted bank robbery which occurred from
  12   January 17, 2012 through February 28, 2012; specific information linking Steve Ruby, Spiros
  13   Romensas, and Sharon Straka to the robberies; and specific information linking the phone
  14   numbers to Steve Ruby, Spiros Romensas, and Sharon Straka. The Application requested
  15   “records of cell site and cell sector activations by the subject telephones during the period
  16   January 1, 2012 to March 31, 2012.” Id. at 17.
  17          The Magistrate Judge found that “the applicant has set forth specific and articulable
  18   facts showing that there are reasonable grounds to believe that the records and information
  19   sought are relevant and material to a criminal investigation being conducted by the Federal
  20   Bureau of Investigation (‘the FBI’) regarding possible violations of Title 18, United States
  21   Code, Section 2113A- Bank Robbery, by the subscriber or other users of the subject telephones
  22   for which service is provided....” Id. at 19-20. The Magistrate Judge ordered that the service
  23   provider shall disclose to the FBI subscriber information for the subject telephones and “all
  24   records of cell site and cell sector activations by the subject telephones during the period
  25   January 1, 2012 to March 31, 2012.” Id. at 20.
  26          Defendant contends that the Government violated his rights under the Fourth
  27   Amendment by tracking his movements without obtaining a warrant supported by probable
  28   cause determined by a magistrate. Defendant asserts that the Government was able to track


                                                    -5-                                   12cr1073 WQH
Case 3:12-cr-01073-WQH        Document 125       Filed 02/12/13     PageID.734      Page 6 of 15



   1   his movements by receiving cell site and cell sector data under the Stored Communication Act.
   2   Defendant contends that the collections of cell site tracking information to monitor a person’s
   3   location is distinctly more invasive and revealing than mere visual surveillance. Defendant
   4   contends that the prolonged tracking of an individual based upon historic cell site information
   5   implicates the Fourth Amendment and required a showing of probable cause.
   6          The Government contends that the application to obtain historical, cell-site records from
   7   a telephone provider set forth more than an adequate showing of reasonable grounds to believe
   8   that the records were relevant and material to an ongoing criminal investigation. The
   9   Government contends that the historical cell-site records are business records of the provider
  10   and obtaining these records is substantially less intrusive than obtaining the contents of
  11   communications. The Government contends that the order of the Magistrate Judge was lawful,
  12   that no search occurred in the production of historical cell-site records, and no warrant was
  13   required. The Government further contends that suppression would not be a proper remedy
  14   in this case, even if a warrant was required, in light of the objectively reasonable reliance by
  15   law enforcement on the order of the Magistrate Judge.
  16          Section 2703(c) of the Stored Communications Act addresses “[r]ecords concerning
  17   electronic communication service or remote computing service.” 18 U.S.C. § 2703(c). The
  18   statute states that “[a] governmental entity may require a provider of electronic communication
  19   service or remote computing service to disclose a record or other information pertaining to a
  20   subscriber to or customer of such service (not including the contents of communications) only
  21   when the governmental entity ... obtains a court order for such disclosure under subsection (d)
  22   of this section.” Id. § 2703(c)(1)(B). A court order under Section 2703(d) order “may be
  23   issued by any court that is a court of competent jurisdiction and shall issue only if the
  24   governmental entity offers specific and articulable facts showing that there are reasonable
  25   grounds to believe that the contents of a wire or electronic communication, or the records or
  26   other information sought, are relevant and material to an ongoing criminal investigation.” Id.
  27   § 2703(d).
  28          Section 2703(c)(1)(B) of the Stored Communications Act applies to the historical cell


                                                     -6-                                    12cr1073 WQH
Case 3:12-cr-01073-WQH        Document 125       Filed 02/12/13     PageID.735      Page 7 of 15



   1   site location data ordered by the court in this case. See, e.g., In re Application of the United
   2   States, 620 F.3d 304, 313 (3d Cir. 2010) (holding that historical cell site location information
   3   is “obtainable under at § 2703(d) order”); United States v. Graham, 846 F.Supp.2d 384, 396
   4   (D. Md. 2011); and In re Application of the United States, 509 F.Supp.2d 76, 79–80 (D. Mass.
   5   2007). The Application in this case contained “specific and articulable facts showing that
   6   there are reasonable grounds to believe that the records sought are relevant and material to an
   7   ongoing criminal investigation.” 18 U.S.C. § 2703(d). The Act permitted the Government to
   8   obtain a court order to produce the historical cell site location data at issue. Judicial review
   9   under the Stored Communication Act was required and obtained by the Government in this
  10   case.
  11           Defendant contends that the order pursuant to the Stored Communication Act for the
  12   period January 1, 2012 to March 31, 2012 violated his Fourth Amendment rights. Defendant
  13   contends that the prolonged tracking of an individual based upon historic cell site information
  14   implicates the Fourth Amendment and required a showing of probable cause. The Government
  15   contends that business records of the cell phone provider were lawfully acquired by the
  16   Government and that there was no violation of the Defendant’s Fourth Amendment rights.
  17           In order to determine whether a Fourth Amendment search has occurred, the Court
  18   must examine whether “the individual manifested a subjective expectation of privacy” in the
  19   place or item searched, and “society [is] willing to recognize that expectation as reasonable.”
  20   Kyllo v. United States, 533 U.S. 27, 33 (2001) (internal citations omitted). In United States v.
  21   Miller, 425 U.S. 435 (1976), the United States Supreme Court found “no intrusion into any
  22   area in which respondent had a protected Fourth Amendment interest” where copies of
  23   respondent’s bank records were provided by the banks pursuant to a subpoena. Id. at 440. The
  24   Supreme Court concluded that the documents were not the respondent’s “private papers” and
  25   that the documents were “business records of the bank.” Id. The Supreme Court stated: “We
  26   must examine the nature of the particular documents sought to be protected in order to
  27   determine whether there is a legitimate ‘expectation of privacy’ concerning their contents.”
  28   Id. at 442. The Supreme Court concluded:


                                                    -7-                                     12cr1073 WQH
Case 3:12-cr-01073-WQH        Document 125        Filed 02/12/13    PageID.736       Page 8 of 15



   1          The checks are not confidential communications but negotiable instruments to
              be used in commercial transactions. All of the documents obtained, including
   2          the financial statements and deposit slips, contain only information voluntarily
              conveyed to the banks and exposed to their employees in the ordinary course of
   3          business.
   4   Id.   The Supreme Court concluded: “This Court has held repeatedly that the Fourth
   5   Amendment does not prohibit the obtaining of information revealed to a third party and
   6   conveyed by him to Government authorities, even if the information is revealed on the
   7   assumption that it will be used only for a limited purpose and the confidence placed in the third
   8   party will not be betrayed.” Id. at 443.
   9          In Smith v. Maryland, 442 U.S. 735 (1979), the Supreme Court concluded that a pen
  10   register installed on telephone company property to record the telephone numbers dialed by
  11   the petitioner did not constitute a search within the meaning of the Fourth Amendment. The
  12   Supreme Court concluded that the petitioner did not have a “reasonable expectation of privacy”
  13   regarding the number he dialed on his phone. The Supreme Court stated: “we doubt that
  14   people in general entertain any actual expectation of privacy in the numbers they dial.” Id. at
  15   742. The Supreme Court added: “[E]ven if petitioner did harbor some subjective expectation
  16   that the phone numbers he dialed would remain private, this expectation is not ‘one that society
  17   is prepared to recognize as ‘reasonable.’” (citation omitted). Id. at 743. The Supreme Court
  18   concluded: “This Court has consistently held that a person has no legitimate expectation of
  19   privacy in information he voluntarily turns over to third parties.” Id. at 743-44. The Court
  20   concluded:
  21          This analysis dictates that petitioner can claim no legitimate expectation of
              privacy here. When he used his phone, petitioner voluntarily conveyed
  22          numerical information to the telephone company and ‘exposed’ that information
              to its equipment in the ordinary course of business. In so doing, petitioner
  23          assumed the risk that the company would reveal to police the numbers he dialed.
  24   442 U.S. at 744.
  25          The historical cell site location records obtained by the Government in this case, created
  26   and maintained by the cellular provider, reveal which cellular towers were used to route a
  27   particular call. This information can reveal the general vicinity in which a cellular phone was
  28   used. Congress has authorized such records to be provided to law enforcement when the


                                                     -8-                                     12cr1073 WQH
Case 3:12-cr-01073-WQH         Document 125       Filed 02/12/13      PageID.737       Page 9 of 15



   1   Magistrate Judge finds “specific and articulable facts showing that there are reasonable
   2   grounds to believe that the contents of a wire or electronic communication, or the records or
   3   other information sought, are relevant and material to an ongoing criminal investigation.” 18
   4   U.S.C. § 2703(d). Those requirements were met in this case.1
   5          The historical cell site location records are the business records of the provider and not
   6   entitled to protection under the Fourth Amendment. See United States v. Miller, 425 U.S. at
   7   443. Defendant in this case voluntarily conveyed information to a third party cellular phone
   8   provider. The third party cellular phone provider maintained records. The Court concludes
   9   that the Defendant does not have a reasonable expectation of privacy in the third party business
  10   records created and maintained by a cellular phone provider derived from information
  11   voluntarily conveyed to the cellular telephone provider. The period of time for which the
  12   records in this case were requested was directly connected to the period of criminal activity
  13   under investigation. The bank robberies under investigation began on January 17, 2012 and
  14   continued through February 28, 2012. Defendant Ruby was arrested March 8, 2012.                The
  15   request for historical cell tower location information for the period January 1, 2012 though
  16   March 31, 2012 was based upon reasonable grounds to believe that the records were relevant
  17   and material to the criminal investigation of this specific course of conduct. The Court
  18   concludes that the Defendant’s Fourth Amendment rights were not violated when the
  19   Government acquired historical cell site location data pursuant to an Order of a Magistrate
  20   Judge of this Court according to the standards of the Stored Communications Act for a specific
  21   period of time directly related to the criminal activity under investigation.
  22          Defendant’s motion #4 to suppress evidence obtained from court order is denied.
  23   Motion #5 to suppress evidence from phone search warrant
  24          Defendant moves the Court for an order to suppress evidence from the search of his cell
  25   phone pursuant to a warrant on the grounds that the application for the warrant lacked
  26   specificity and the application relied upon evidence seized in violation of the Fourth
  27
  28          1
                The Government argued at the hearing and the Court agrees that the 2703(d) application was
       so detailed that the information provided would satisfy a showing of probable cause.

                                                      -9-                                      12cr1073 WQH
Case 3:12-cr-01073-WQH        Document 125 Filed 02/12/13           PageID.738      Page 10 of
                                          15


  1   Amendment. The Government asserts that the search warrant for the cell phone was
  2   reasonable in scope and that the facts in the affidavit provided probable cause to believe that
  3   the Defendant’s cell phone was used as an instrumentality of the crimes alleged.
  4           “To satisfy the demands of the Warrant clause, a warrant must comply with two related
  5   but distinct rules. First, it must describe the place to be searched or things to be seized with
  6   sufficient particularity, taking account of the circumstances of the case and the type of items
  7   involved. Second, it must be no broader than the probable cause on which it is based. The
  8   particularity rule and the probable cause rule serve a common purpose: to protect privacy by
  9   prohibiting a general, exploratory rummaging in a person’s belongings.” United States v. Kow,
 10   58 F.3d 423, 426-28 (9th Cir. 1995).
 11           On July 3, 2012, the Government sought and received a search warrant for two cellular
 12   telephones impounded and held in the custody of the FBI. (ECF No. 71-2 at 22-40). The
 13   Magistrate Judge reasonably determined that there was probable cause to search the two
 14   cellular phones. The affidavit in support of the search warrant informed the Magistrate Judge
 15   that witnesses had seen the robber flee the robbery scene during the first, fifth and sixth
 16   robberies and the attempted bank robbery by getting into the passenger seat of a maroon pick-
 17   up truck or had seen the robber getting into a maroon pick-up truck just prior to the crime. The
 18   affidavit informed the Magistrate Judge that subsequent investigation led to a burgundy-
 19   colored, Chevrolet Silverado pick-up truck associated with Defendant Romensas and two
 20   storage units at A-American Storage associated with Defendant Romensas and Defendant
 21   Ruby.
 22           The affidavit informed the Magistrate Judge that Defendant Ruby and Defendant
 23   Romensas were placed under arrest on March 8, 2012 in possession of the two cellular
 24   telephones; and that historical cell records provided to the Government by court order showed
 25   that these cellular telephones were using a cell site within a few miles of the bank robberies
 26   which took place on January 23, 2012; February 6, 2012; February 21, 2012; and February 28,
 27   2012. Based upon the facts, the Magistrate Judge reasonably found probable cause to search
 28   the two cellular telephones for evidence of the bank robberies. The Court finds that the search


                                                   - 10 -                                  12cr1073 WQH
Case 3:12-cr-01073-WQH        Document 125 Filed 02/12/13           PageID.739       Page 11 of
                                          15


  1   warrant was reasonable in scope and supported by facts to show probable cause to believe that
  2   Defendant Ruby and Defendant Romensas were involved in a series of coordinated crimes in
  3   different locations and were using their phones to communicate in furtherance of their crimes.
  4          Defendant’s motion #5 to suppress evidence from phone search warrants is denied.2
  5   Motion #6 to suppress evidence from hotel and storage unit search warrants
  6          Defendant Ruby asserts that the search warrant is not supported by probable cause to
  7   believe that evidence of the bank robberies would be found in the hotel room or the storage
  8   locker. The Government asserts that the Magistrate Judge correctly determined that there was
  9   probable cause to believe that evidence of the serial bank robberies detailed in the affidavit
 10   would be found in Ruby’s storage unit and his hotel room.
 11          A Magistrate Judge is required to answer the “commonsense, practical question whether
 12   there is probable cause to believe that contraband or evidence is located in the particular place
 13   before issuing a search warrant.” Illinois v. Gates, 462 U.S. 213, 230 (1983). Probable cause
 14   means nothing more than a “fair probability” that contraband or evidence is located in a
 15   particular place. Id. at 246. The Magistrate Judge in this case reasonably determined that there
 16   was probable cause to believe that evidence of serial bank robberies would be found within the
 17   Defendant’s hotel room and storage unit.
 18          Defendant’s motion #6 to suppress evidence from hotel and storage unit search warrants
 19   is denied.3
 20   Ruby’s motion #8 to suppress identification testimony
 21          Defendant Ruby contends that the out-of-court identifications in this case were so
 22   unduly suggestive that all identification testimony should be suppressed. Defendant contends
 23   that the photographic line-ups presented to the tellers were implicitly suggestive on the grounds
 24
 25          2
              To the extent that Defendant Romensas moved to joined in the motion of Defendant Ruby,
      any motion to suppress the evidence obtained from Defendant Romensas’ cell phone is denied. (ECF
 26   No. 74).
 27          3
              To the extent that Defendant Romensas moved to joined in the motion of Defendant Ruby,
      any motion to suppress the evidence obtained from Defendant Romensas’ storage shed and his
 28   residence is denied. (ECF No. 74).


                                                   - 11 -                                   12cr1073 WQH
Case 3:12-cr-01073-WQH         Document 125 Filed 02/12/13           PageID.740       Page 12 of
                                           15


  1   that 1) the identifications were not conducted until July and August 2012, months after the
  2   Defendant’s arrest; 2) the administrators of the six-pack line-up knew the Defendant’s
  3   photograph was present in the array; and 3) contemporaneous statements of witness confidence
  4   with respect to any identification were not taken. Most importantly, Defendant contends that
  5   his photo unduly stood out in the six-pack photo array. Defendant explains that “most of the
  6   tellers described the robber as having a ‘scruffy beard’ and that he stood out in the line up
  7   because “three of the fillers have no facial hair at all and of the two remaining one has a gray,
  8   well-groomed goatee and the other a well-groomed, brown mustache.” (ECF No. 71-1 at 29).
  9          The Government contends that the Defendant has not shown that the photo procedures
 10   in this case were impermissibly suggestive. The Government asserts that the six-pack
 11   photographic line-up which included Defendant Ruby depicted “Caucasian males in the same
 12   age range, and all of them were bald or balding with similar head shapes and ears, and all had
 13   similar skin and eye coloring.” (ECF No. 76 at 29). The Government submits that the San
 14   Diego County Sheriff’s Department Photo Line-up Admonishment signed and dated by each
 15   potential witness and asserts that there were no inappropriate directive actions in this case.
 16          “Suggestive pretrial identification procedures may be so impermissibly suggestive as
 17   to taint subsequent in-court identifications and thereby deny a defendant due process of law.”
 18   United States v. Bagley, 772 F.2d 482, 492 (9th Cir. 1985). “Suggestive confrontations are
 19   disapproved because they increase the likelihood of misidentification....” Neil v. Biggers, 409
 20   U.S. 188, 198 (1972). “[E]ach case must be considered on its own facts, and []convictions
 21   based on eye witness identification at trial following a pretrial identification by photograph
 22   will be set aside [] only if the photographic identification procedure was so impermissibly
 23   suggestive as to give rise to a very substantial likelihood of irreparable misidentification.” Id.
 24   at 196-97 (quoting Simmons v. United States, 390 U.S. 377, 384 (1968)).
 25          Courts employ a two-step analysis to determine the admissibility of identification
 26   testimony. United States v. Love, 746 F.2d 477 (9th Cir. 1984). “First, it must be determined
 27   whether the procedures used were impermissibly suggestive. If so, it must then be determined
 28   whether the identification was nonetheless reliable.” Id. at 478. Defendant bears the burden


                                                    - 12 -                                   12cr1073 WQH
Case 3:12-cr-01073-WQH         Document 125 Filed 02/12/13            PageID.741      Page 13 of
                                           15


  1   of proving that the identification procedure was impermissibly suggestive. See Johnson v.
  2   Sublett, 63 F.3d 926, 929 (9th Cir. 1995).
  3          The record in this case establishes that the six bank robberies and one attempted bank
  4   robbery charged in the indictment took place from January 17, 2012 through February 28,
  5   2012. Defendant was arrested on March 8, 2012. The record establishes that five potential
  6   witnesses4 were shown a photographic line-up by agents of the FBI on the following dates:
  7   April 17, 2012; July 27, 2012; July 31, 2012; August 1, 2012; and August 24, 2012. Each
  8   potential witness was a victim teller during one of the robberies under investigation. Each
  9   potential witness was initially read aloud and asked to acknowledge the San Diego County
 10   Sheriff’s Department Photo Line-Up Admonishment form which stated:
 11          In a moment I am going to show you a group of photographs. This group of
             photographs may or may not contain a picture of the person who committed the
 12          crime now being investigated. The fact that the photographs are shown to you
             should not influence your judgment. You should not conclude or guess that the
 13          photographs contain the picture of the person who committed the crime. The
             fact that photos are being shown to you should not cause you to believe or guess
 14          that a guilty person has been caught. You are not obliged to identify anyone.
             It is just as important to free innocent persons from suspicion as to identify
 15          guilty parties. Please do not discuss this case with other persons, nor indicate
             in any way you have identified someone.
 16
             Please keep in mind that hairstyles, beards, and mustaches are easily changed.
 17          Also, photographs do not always depict the true complexion of a person; it may
             be lighter or darker than shown in the photo.
 18
             You should pay no attention to any markings or numbers that appear on the
 19          photos. Also, pay no attention to whether the photos are in color, or in black and
             white, or any other difference in the type or style of photographs. You should
 20          study only the person shown in each photograph.
 21          Please do not talk to anyone other than Sheriff’s deputies while viewing the
             photos. You must make up your own mind and not be influenced by other
 22          witnesses, if any.
 23          When you have completed viewing all the photos, please tell me whether or not
             you can make an identification. If you can, tell me in your own words how sure
 24          you are of your identification. Please do not indicate in anyway to other
             witnesses that you have or have not made an identification.
 25
             Thank you.
 26
 27
             4
              One individual was the victim teller during two robberies (January 17, 2012 and January 23,
 28   2012) and present at the alleged attempted robbery on February 14, 2012.


                                                    - 13 -                                    12cr1073 WQH
Case 3:12-cr-01073-WQH        Document 125 Filed 02/12/13           PageID.742       Page 14 of
                                          15


  1   (ECF No. 76-1 at 4, 9, 13, 17 and 22). Each witness was shown the surveillance photograph
  2   of the bank robbery on the date the witness was present at the robbery to refresh recollection.
  3   The witness was then shown the photographic line-up generated by the FBI utilizing the San
  4   Diego County E-Mugs database. Defendant Ruby was placed in the #3 position of the line-up.
  5          The photo line-up (ECF No. 71-2 at 80) depicted six Caucasian males in the same age
  6   range. All of the males depicted were bald or balding with similar head shapes and ears,
  7   similar skin and eye coloring. Three of the men had light color facial hair, including
  8   Defendant Ruby. Three did not have facial hair. None of the photos were distinctively colored
  9   or hazy.
 10          Each witness reviewed the photographic line-up and identified #3 as the bank robber.
 11   Each witness indicated to the agent how sure she or he was of the identification. (“Looks to
 12   me like 3. I’d say #3 to me.” (ECF No. 76-1 at 2); “I remember that face.” (ECF No. 76-1 at
 13   8); “What I think the face is compared to the real one, that’s the person.” (ECF No. 76-1 at 12);
 14   “commented she remembered the robber had a beard, and identified photograph #3 as the
 15   robber” (ECF No. 76-1 at 16); “commented that the individuals looked alike, but identified
 16   photograph #3 as the robber” (ECF No. 76-1 at 20)). Each witness then circled photo #3 on
 17   the line-up, and signed and dated the line-up and the admonishment form.
 18          The Court concludes that there are no facts to suggest that the photo array or the
 19   identification procedures used in this case were improperly suggestive. The photographs in
 20   the array are similar in appearance. The individuals are of the same race and similar age. The
 21   individuals are bald or balding, with the same skin color, and eye color. The photograph of
 22   Defendant Ruby does not unduly stand out in the photo array on the basis of facial hair or any
 23   other characteristic. There are no differences between the Defendant’s photograph and the
 24   other photographs that create a suggestion that the Defendant is the offender. See United
 25   States v. Burdeau, 168 F.3d 352, 357-58 (9th Cir. 1999) (array not impermissibly suggestive
 26   when defendant’s photograph was placed in the center of the array, was darker than the rest
 27   and was the only one in which the eyes were closed); United States v. Carbajal, 956 F.2d 924,
 28   929 (9th Cir. 1992) (array not impermissibly suggestive when defendant’s photograph was


                                                   - 14 -                                   12cr1073 WQH
Case 3:12-cr-01073-WQH          Document 125 Filed 02/12/13        PageID.743      Page 15 of
                                            15


  1   only one in which individual wore wig and had bruises on face); and United States v. Johnson,
  2   820 F.2d 1065, 1073 (9th Cir. 1987) (array not impermissibly suggestive when defendant’s
  3   photograph was hazier than others).
  4          Each potential witness was told that the photo array may not contain a picture of the
  5   person who committed the crime now being investigated and that they were not obligated to
  6   identify anyone. Each potential witness was told : “Keep in mind that hairstyles, beards, and
  7   mustaches are easily changed.” (ECF No. 76-1 at 4, 9, 13, 17, 22). Each potential witness
  8   identified photo #3 and contemporaneously made a statement of confidence. The Court
  9   concludes that Defendant has failed to come forward with any facts to suggest that any aspect
 10   of the identification procedure was impermissibly suggestive. The Court has reviewed the
 11   Report of Roy S. Malpass (ECF No. 94) and finds that expert testimony is not helpful to the
 12   Court or required at this stage in the proceedings. There are no facts in dispute to examine at
 13   an evidentiary hearing.
 14          Defendant’s motion #8 to suppress identification testimony is denied.
 15                                         CONCLUSION
 16          IT IS HEREBY ORDERED that 1) Defendant’s motion (ECF No. 71-1) to dismiss the
 17   indictment for lack of jurisdiction is denied; 2) Defendant’s motion (ECF No. 71-2) to dismiss
 18   Count 5 is denied; 3) Defendant’s motion (ECF No. 71-3) to sever trials of the seven counts
 19   is denied; 4) Defendant’s motion (ECF No. 71- 4) to suppress evidence obtained from court
 20   order is denied; 5) Defendant’s motion (ECF No. 71-5) to suppress evidence from phone
 21   search warrants is denied; 6) Defendant’s motion (ECF No. 71-6) to suppress evidence from
 22   hotel and storage unit search warrants is denied; and 7) Defendant’s motion (ECF No. 71-8)
 23   to suppress identification testimony is denied.
 24   DATED: February 12, 2013
 25
                                                  WILLIAM Q. HAYES
 26                                               United States District Judge
 27
 28


                                                  - 15 -                                  12cr1073 WQH
